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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott 8S. Harris
Clerk of the Court

September 19, 2024 (202) 479-3011

Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place
New Orleans, LA 70130

Re: Xavier Becerra, Secretary of Health and Human Services, et al.
v. Braidwood Management, Inc., et al.
No. 24-316
(Your No. 2383-10326)

Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on
September 19, 2024 and placed on the docket September 19, 2024 as No. 24-316.

Sincerely,
Scott S. Harris, Clerk
by

Susan Frimpong
Case Analyst

